                IN THE UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

EUGENE O’MALLEY                     :       JURY TRIAL DEMANDED
    Plaintiff                       :
                                    :
     vs.                            :
                                    :       CASE NO.:
SUNDANCE VACATIONS, INC.            :
    Defendant                       :

                                COMPLAINT

     Plaintiff Eugene O’Malley (“Mr. O’Malley”) by his attorney, George R.

Barron, Esquire, for his Complaint alleges as follows:

                        JURISDICTION AND VENUE

     1.    This action for declaratory, injunctive, monetary and other

appropriate relief is brought by named Plaintiff against the Defendant to

redress intentional violations by Defendant of rights secured by the laws of

the United States and the statutory and common law of the Commonwealth

of Pennsylvania.

     2.    Defendant wrongfully discriminated against, wrongfully

terminated, and unlawfully deprived Mr. O’Malley of his rights under, inter

alia, the Family and Medical Leave Act, 29 U.S.C.§2601 et seq.1


1 Sundance’s actions also violated the Americans with Disabilities Act and
the Pennsylvania Human Relations Act. Mr. O’Malley will amend this
Complaint to add those counts when the administrative exhaustion
requirements are met.

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      3.    This Court has jurisdiction over this action pursuant to, inter alia,

28 U.S.C. §§1331 and 1367. Venue is proper in the Middle District of

Pennsylvania under 28 U.S.C. § 1391(b) because most of the events and

omissions complained of occurred in this judicial district.

                                 THE PARTIES

      x.    Plaintiff Eugene O’Malley is a resident of 1512 Shoemaker Ave.

West Wyoming, PA 18644.

      x.    Defendant Sundance Vacations, Inc. (“Sundance”) is, upon

information and belief, Pennsylvania Business Corporation with a place of

business at 264 Highland Park Blvd. Wilkes-Barre, PA 18702.


      x.    Mr. O’Malley (“Mr. O’Malley”) was, at all relevant times, employed

by Sundance and was an “eligible employee” within the meaning of the

Family and Medical Leave Act (“FMLA”).

      x.    Sundance was, at all relevant times a “covered entity” within the

meaning of the FMLA.

                            STATEMENT OF FACTS

      x.     Mr. O’Malley was employed by Sundance as a Project

Manager.

      x.     Mr. O’Malley was last employed by Sundance on or about May

11, 2017.


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Mr. O’Malley’s Leave to Care For His Parent

x.    From Spring 2015 to Fall 2015, Mr. O’Malley took intermittent leave to

care for his father, who suffered from serious health conditions including

liver disease and cirrhosis of the liver.

      x.    Mr. O’Malley informed Sundance that the reason for his leave

was to care for his father, and that his father was critically ill.

      x.    Sundance approved Mr. O’Malley’s leave as vacation time.

      x.    Mr. O’Malley’s leave was FMLA-protected leave.

      x.    Sundance did not provide Mr. O’Malley with the notice of

eligibility status or the rights and responsibilities notice required by the

FMLA.

      x.    Upon information and belief, Sundance did not consider Mr.

O’Malley’s leave to be FMLA protected.

      x.    Upon information and belief, Sundance did not make an

objectively reasonable effort to determine its obligations to Mr. O’Malley

under the FMLA.

      x.    Mr. O’Malley did not exhaust the FMLA-protected leave

available to him.

      x.    In December 2015, Mr. O’Malley received a performance

review from Sundance.



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      x.    In the December 2015 performance review, Sundance

deducted points from Mr. O’Malley’s evaluation specifically for using the

FMLA-protected leave to care for his father.

Mr. O’Malley’s Leave For His Own Serious Health Conditions

      x.    Mr. O’Malley suffers from chronic serious health conditions

including herniated discs and nerve damage in his back.

      x.    Mr. O’Malley’s serious health conditions were present

throughout his employment, and Sundance was aware of them.

      x.    Mr. O’Malley’s serious health conditions cause inter alia, severe

back pain, difficulty walking and shooting pains in his legs.

      x.    Mr. O’Malley took intermittent leave from work for his own

serious health conditions.

      x.    Mr. O’Malley’s leave was FMLA-protected leave.

      x.    Sundance did not provide Mr. O’Malley with the notice of

eligibility status or the rights and responsibilities notice required by the

FMLA.

      x.    Upon information and belief, Sundance did not make an

objectively reasonable effort to determine its obligations to Mr. O’Malley

under the FMLA.

      x.    Upon information and belief, Sundance did not consider Mr.

O’Malley’s leave to be FMLA protected.

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       x.     Mr O’Malley did not exhaust the FMLA leave available to him.

       x.     Sundance disciplined and ultimately terminated Mr. O’Malley’s

employment because of the leave that Mr. O’Malley took to care for his

father and for his own serious health conditions.

       x.     On or about May 11, 2017, Sundance terminated Mr. O’Malley’s

employment.

       x.     Sundance’s stated reason for terminating Mr. O’Malley’s

employment was his absences from work.

                             COUNT ONE
            INTERFERENCE WITH PLAINTIFF`S RIGHTS UNDER
                 THE FAMILY AND MEDICAL LEAVE ACT
                       (Leave to Care for Parent)

       x.     All previous paragraphs are incorporated herein by reference

as if set forth in full.

       x.     Mr. O’Malley took leave from work to care for his critically ill

father.

       x.     Mr. O’Malley’s leave to care for his critically ill father was FMLA-

protected leave

       x.     Sundance was aware that Mr. O’Malley’s was taking leave to

care for his critically ill parent.

       x.     Sundance willfully interfered with Mr. O’Malley’s FMLA rights by

failing to provide Mr. O’Malley with the notifications required by FMLA.


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       x.     Sundance willfully interfered with Mr. O’Malley’s FMLA rights by,

inter alia, taking his FMLA protected leave into account in a negative

manner in Mr. O’Malley’s performance evaluation.

       x.     Sundance willfully interfered with Mr. O’Malley’s FMLA rights by

terminating his employment because he used FMLA-protected leave.

                                   COUNT TWO
                           RETALIATION IN VIOLATION OF
                        THE FAMILY AND MEDICAL LEAVE ACT
                              (Leave to Care for Parent)

       x.   All previous paragraphs are incorporated herein by reference as

if set forth in full.

       x.     Sundance willfully retaliated against Mr. O’Malley for asserting

his right to leave under the FMLA by taking his FMLA protected leave into

account in a negative manner in Mr. O’Malley’s performance evaluation.

       x.     Sundance willfully retaliated against Mr. O’Malley for asserting

his right to leave under the FMLA by terminating his employment.

                               COUNT THREE
                     INTERFERENCE IN VIOLATION OF
                   THE FAMILY AND MEDICAL LEAVE ACT
             (Leave for Employee’s Own Serious Health Condition)

       x.      All previous paragraphs are incorporated herein by reference

as if set forth in full.




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       x.     Mr. O’Malley took leave from work due to his own serious

health conditions.

       x.     Mr. O’Malley’s leave was FMLA-protected.

       x.     Sundance was aware of Mr. O’Malley’s reasons for taking

leave.

       x.     Sundance failed to provide Mr. O’Malley with the notifications

required by FMLA.

       x.     Sundance willfully interfered with Mr. O’Malley’s FMLA rights by

failing to provide Mr. O’Malley with the notifications required by FMLA.

       x.     Sundance willfully interfered with Mr. O’Malley’s FMLA rights by,

inter alia, taking his FMLA protected leave into account in a negative

manner in Mr. O’Malley’s performance evaluation and by disciplining Mr.

O’Malley for FMLA-protected absences.

                               COUNT FOUR
                       RETALIATION IN VIOLATION OF
                   THE FAMILY AND MEDICAL LEAVE ACT
             (Leave for Employee’s Own Serious Health Condition)

       x.   All previous paragraphs are incorporated herein by reference as

if set forth in full.

       x.     Sundance willfully retaliated against Mr. O’Malley for asserting

his right to leave under the FMLA by taking his FMLA protected leave into

account in a negative manner in Mr. O’Malley’s performance evaluation.


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      x.    Sundance willfully retaliated against Mr. O’Malley for asserting

his right to leave under the FMLA by terminating his employment.

                           PRAYER FOR RELIEF

      x.   Since his employment was terminated, Mr. O’Malley has suffered

lost wages, lost employment opportunities, loss of medical benefits and

other fringe benefits. In addition, Mr. O’Malley has suffered and will

continue to suffer severe emotional and physical distress.

      WHEREFORE, Mr. O’Malley respectfully requests that this Court:

            (a)   Enter a declaratory judgment that Sundance`s action,

policies, practices and procedures complained of herein have violated and

continue to violate the rights of Mr. O’Malley as secured by the statutes of

the United States and the Constitution, statutes and common law of the

Commonwealth of Pennsylvania;

            (b)   Require Sundance to reinstate Mr. O’Malley to a position

equivalent to that which he previously held and to restore Mr. O’Malley full

income and benefits that he would have received had he not been the

victim of Sundance`s unlawful acts, or, in the alternative, award to Mr.

O’Malley front pay damages in an amount to be determined;

            (c)   Award to Mr. O’Malley back and front pay damages for

lost income and benefits at the same level as if he had been fully employed

since his termination by Sundance;

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           (d)   Award to Mr. O’Malley liquidated damages in an amount

equal to his back and front pay damages;

           (e)    Award to Mr. O’Malley costs, disbursements and

reasonable attorney fees, and;

           (f)   Grant to Mr. O’Malley such additional relief as this Court

deems just and proper.

                            DEMAND FOR JURY

     Plaintiff demands a jury trial for all claims triable by a jury.

                                            /s/George R. Barron
                                             George R. Barron, Esquire
                                             Counsel for Plaintiff
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